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                      WIPO Arbitration and Mediation Center

                                       ADMINISTRATIVE PANEL DECISION

                                       Webvan Group, Inc. v. Stan Atwood

                                                Case No. D2000­1512



1. The Parties

Complainant is Webvan Group, Inc., a Delaware corporation located in Foster City, California, USA.

Respondent Stan Atwood is an individual residing in Dallas, Texas, USA.



2. The Domain Name(s) and Registrar(s)

The domain name at issue is <internethomegrocer.com> (the "Domain Name").

The registrar is Network Solutions, Inc., in Herndon, Virginia, USA.



3. Procedural History

This action was brought in accordance with the ICANN Uniform Domain Name Dispute Resolution Policy, dated
October 24, 1999 ("the Policy") and the ICANN Rules for Uniform Domain Name Dispute Resolution Policy, dated
October 24, 1999 ("the Rules").

Complainant submitted its complaint in this proceeding on November 3, 2000. Respondent submitted its Response
on November 30, 2000.

WIPO Arbitration and Mediation Center appointed Mark V.B. Partridge as panelist on January 5, 2001.

On January 19, 2001, the Panel issued Procedural Order No. 1 instructing Respondent to submit evidence to
support the claims made in its Response. Respondent's submission in response to that Order were received on
January 27, 2001. Complainant's reply was submitted on February 14, 2001.



4. Factual Background

HomeGrocer.com, Inc., a wholly owned subsidiary of Complainant, began using the mark HOMEGROCER in
February, 1998. It filed applications for registration of the marks HOMEGROCER and HOMEGROCER.COM on
October 9, 1997, and

May 7, 1998, respectively and now owns registrations for each.
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HomeGrocer.com, Inc. provides online ordering and home delivery service of groceries and other products in various
parts of the country. The HOMEGROCER mark has enjoyed substantial sales and extensive media recognition
since its first use in

February, 1998. On November 9, 1999, media articles appeared in Dallas, Texas, that referred to the expansion of
the HOMEGROCER services into the Dallas area.

Respondent registered the Domain Name on November 13, 1999, and has used it for an online grocery delivery
service in the Dallas area. In his response, he candidly acknowledges the possibility that confusion might exist
between the terms HOMEGROCER.COM and INTERNET HOME GROCER. Respondent insists, however, that the
Domain Name was selected without knowledge of Complainant's plan to move into the Dallas market. In June, 2000,
Respondent discontinued its services in the Dallas area .

Respondent first had knowledge of this dispute when notified of the Complainant in November, 2000.

The Procedural Order issued in this case called for Respondent to submit documentation supporting Respondent's
assertions that:

1. It selected the name "internet home grocer" before Complainant made public use of the name "home grocer."

2. It made demonstrable plans to make bona fide use of name "internet home grocer" prior to knowledge of this
dispute.

3. It has made bona fide use of the name "internet home grocer" to provide grocery delivery services.

4. Any other documentation it deems relevant to show that it adopted the name "internet home grocer" in good faith.

The materials submitted by the Respondent included the following:

­ An invoice dated March 1, 2000, regarding server certification for the www.internethomegrocer.com site.

­ Letter from Network Solutions, Inc. regarding the registration of the domain name.

­ A certified Assumed Name Certificate for "Internet Home Grocer" dated January 14, 2000.

­ A transaction report for orders placed with Respondent by four customers from March to November, 2000.

­ A DUNS number issued by Dun & Bradstreet.



5. Parties’ Contentions

Complainant contends that the Domain Name is confusingly similar to its mark, that Respondent has no rights or
legitimate interests in the Domain Name, and that Respondent has registered and used the Domain Name in bad
faith.

Respondent contends that it made bona fide use of the domain name prior to notice of this dispute and did not
register or use the Domain Name in bad faith.



6. Discussion

To obtain relief under the ICANN Uniform Domain Name Dispute Resolution Policy, Paragraph 4(a) of the Policy
requires the complainant to prove each of the following:

(i) that the domain name registered by the respondent is identical or confusingly similar to a trademark or service
mark in which the complainant has rights; and

(ii) that the respondent has no rights or legitimate interest in the domain name; and

(iii) the domain name has been registered and used in bad faith.
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A. Confusing Similarity

Complainant has nationwide rights in its marks as of the filing date of its federal trademark applications, which
predate the registration of the Domain Name.

While the marks are not identical, it is obvious that the Domain Name includes Complainant's mark in its entirety.
Thus, the question is whether the addition of "Internet" avoids confusingly similarity. In general, the addition of a
generic term to a distinctive trademark will not avoid a finding of confusing similarity when the generic term is an apt
term for the good or services associated with the mark. For example, "walmartcanada.com" has been deemed
confusingly similar to the WAL­MART mark. Wal­Mart Stores, Inc. v. Walmarket Canada, D2000­0150 (WIPO, May
2, 2000). However, when the mark is a relatively weak, non­distinctive term, courts have found that the scope of
protection may be limited to the identical term and that the addition of other descriptive matter may avoid confusion.

Here, HOMEGROCER seems to be descriptive or at least highly suggestive of a service that provides home
ordering and delivery of groceries. As a descriptive term, the mark should receive limited protection even though it
is a registered mark. This weakness, however, seems to be offset by the promotion and media attention that the
mark has received. Moreover, given that both business are Internet­based, Internet users are likely to believe that
<internethomegrocer.com> is related to <homegrocer.com>. Indeed, Respondent has acknowledged that such
confusion may exist. Therefore, based on the record before me, I find that <internethomegrocer.com> is confusingly
similar to <homegrocer> or homegrocer.com>.

B. Rights or Legitimate Interests

Under the Policy, legitimate interests in a domain name may be demonstrated by a showing that: (i) before any
notice of this dispute, respondent used, or demonstrably prepared to use, the domain name or a name
corresponding to the domain name in connection with a bona fide offering of goods or services; (ii) respondent has
been commonly known by the domain name, even if no trademark or service mark rights have been acquired; or (iii)
respondent is making a legitimate noncommercial or fair use of the domain name, without intent for commercial gain
to misleadingly divert customers or to tarnish the trademark at issue. Policy 4(c).

Here, the relevant question is whether Respondent made bona fide use of the domain name, or had plans to do so,
prior to notice of the dispute. Of course, the fact that a domain name has been used prior to notice of the dispute is
not itself sufficient to show bona fide use, otherwise the Policy could be circumvented in nearly every case. As prior
decisions have noted, deliberately infringing use should not be viewed as bona fide use. See Ciccone v. Parisi,
D2000­0847 (WIPO, October 12, 2000). However, a plausible, non­infringing explanation for selection of the domain
name is evidence that the use is bona fide.

The evidence submitted by Respondent shows some effort to engage in business under the name "Internet Home
Grocer" prior to notice of this dispute and it appears that a small number of transactions occurred. The name used
by Respondent is an apt choice for the services rendered and it is not identical to Complainant's prior trademark. It
is plausible that Respondent selected the name based on its descriptive meaning without any intent to trade on
Complainant's goodwill. The bona fide nature of Respondent's use is confirmed by the fact that Respondent
registered its assumed name and obtained a DUNS number before notice of this dispute. These actions evidence a
demonstrable plan to engage in a bona fide business under the name INTERNET HOME GROCER and add
credibility to Respondent's claim that it selected the name for the purpose of doing business.

Complainant does not challenge the validity of the Respondent's sales records. Rather, Complainant contends that
four orders is insufficient to demonstrate prior bona fide use. While I agree that the amount of use is minimal, I
cannot say that it is insufficient to meet the standard set by the Policy.

Based on the record presented, I find that Complainant has failed to prove that Respondent's lacks any legitimate
interest in the Domain Name as required by Paragraph 4(a)(ii) of the Policy.

C. Bad Faith Registration and Use

I also find that Complainant has failed to show bad faith registration and use under the Paragraph 4(a)(iii). There is
no indication that Respondent registered the Domain Name with the intent of selling it for profit. Rather, the evidence
indicates that Respondent registered the Domain Name for the purpose of engaging in the Internet grocery business.

Respondent's domain name registration does not prevent Complainant from reflecting its marks as a domain name
or disrupt the business of a competitor.
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A closer question is whether Respondent intentionally attempted to attract, for commercial gain, Internet users to a
web site by creating a likelihood of confusion with the complainant's mark. Policy 4(b)(iv). The evidence in support
of this contention is the confusingly similarity of the names, the fact that Complainant's mark was in use at the time
the Domain Name was registered, and the fact that an announcement about Complainant's expansion plans to
Dallas appeared in Respondent's local press a few days prior to registration of the Domain Name.

Respondent denies knowledge of Complainant's expansion plans, stating: "At no time did we ever obtain our name
because we were aware of "homegrocer.com's" plan to penetrate the [Dallas] market. It was purely coincidental."
That claim is plausible. The Dallas news article submitted by Complainant is primarily about another online grocery
business, GroceryWorks.com and only mentions HomeGrocer in passing. The reference could easily have gone
unnoticed. At the time Complainant registered the Domain Name, it is admitted that HomeGrocer was not yet
providing services in the Dallas area.

Respondent's stated reason for adopting the Domain Name is also plausible: "The term 'internet home grocer,' which
is how we advertised our services in the Dallas area, was adopted in order for us to identify ourselves as an online
grocery delivery service. Because of the nature of our business, we felt the work 'internet' was needed in order for
us to identify and market ourselves as an online entity."



7. Conclusion

I conclude that Complainant has failed to prove that Respondent lacks rights or legitimate interest in the Domain
Name, or that Respondent registered and used the Domain Name in bad faith. Therefore, I find in favor of
Respondent and deny Complainant's request for transfer of the <internethomegrocer.com> Domain Name.




                                                 Mark V B Partridge
                                                   Sole Panelist

                                              Dated: February 20, 2001
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WIPO Arbitration and Mediation Center
ADMINISTRATIVE PANEL DECISION

Mile, Inc. v. Michael Burg

Case No. D2010­2011
1. The Parties

The Complainant is Mile, Inc. of Worthington, Ohio, United States of America represented by Schottenstein,
Zox & Dunn, Co., L.P.A., United States of America.

The Respondent is Michael Burg of Lebanon, New Hampshire, United States of America, represented by
AlvaradoSmith, APC, United States of America.

2. The Domain Name and Registrar

The disputed domain name <lionsden.com> (The "Domain Name") is registered with Network Solutions,
LLC (The "Registrar").

3. Procedural History

The Complaint was filed with the WIPO Arbitration and Mediation Center (the "Center") on November 22,
2010. On November 23, 2010, the Center transmitted by email to the Registrar a request for registrar
verification in connection with the Domain Name. On November 23, 2011, the Registrar transmitted by
email to the Center its verification response confirming that the Respondent is listed as the registrant and
providing the contact details. The Center verified that the Complaint satisfied the formal requirements of
the Uniform Domain Name Dispute Resolution Policy (the "Policy" or "UDRP"), the Rules for Uniform
Domain Name Dispute Resolution Policy (the "Rules"), and the WIPO Supplemental Rules for Uniform
Domain Name Dispute Resolution Policy (the "Supplemental Rules").

In accordance with the Rules, paragraphs 2(a) and 4(a), the Center formally notified the Respondent of the
Complaint, and the proceedings commenced November 29, 2010. In accordance with the Rules, paragraph
5(a), the due date for Response December 19, 2010. The Response was filed with the Center on December 19,
2010. On January 12, 2011, the Complainant filed a Supplemental Submission.

The Center appointed W. Scott Blackmer, David H. Bernstein, and David E. Sorkin as panelists in this
matter on January 14, 2011. The Panel finds that it was properly constituted. Each member of the Panel has
submitted the Statement of Acceptance and Declaration of Impartiality and Independence, as required by
the Center to ensure compliance with the Rules, paragraph 7.

4. Factual Background
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The Complainant, a retailer of adult videos, sex products, and lingerie, is a corporation organized under
Ohio law and headquartered in Worthington, Ohio, United States of America. The Complainant operates 40
retail stores in 18 states of the United States, as well as a commercial website at "www.lionsdenadult.com."

The Complainant uses the service mark THE LION'S DEN to identify its stores and website, holding United
States Trademark Registration No. 2,301,567 for this standard­character mark. The mark was registered
December 21, 1999, with commercial use claimed since February 1971.

The Domain Name was registered on May 8, 1995. According to the Response and the Declaration of Mr.
Burg, the Respondent is an individual residing in Lebanon, New Hampshire, United States of America. The
Respondent states that he registered the Domain Name for personal use and has continuously owned the
Domain Name since May 1995. The Respondent states that he owns some fifteen domain names, including
another incorporating the word "lions" (<lionsburg.com>), and uses them for "family email, personal
projects, and hobbies."

It is undisputed that, in October and November 2010, the Domain Name resolved to a pay­per­click ("PPC")
advertising website with links to a variety of commercial and informational websites. As demonstrated by
screenshots furnished with the Complaint, the PPC website has at times prominently featured links for
adult products such as "sexy lingerie" competing with products sold by the Complainant. Links on the PPC
website have in some instances been labeled similarly to the Complainant's mark, such as "Lions Den Adult
Superstore" and "Lions Den Retail Store." One printout shows that the PPC website formerly included a link
to the Complainant's website. Currently, the website associated with the Domain Name displays only
unrelated banner advertising.

5. Parties' Contentions

A. Complainant
The Complainant asserts that the Domain Name is confusingly similar to its mark THE LION'S DEN, for
which it claims common law protection since 1971, and that the Respondent has no rights or legitimate
interests in the Domain Name.

The Complainant infers from the PPC website formerly associated with the Domain Name that the
Respondent registered and used the Domain Name in bad faith, in an attempt to mislead Internet users and
exploit the Complainant's mark for commercial gain.

B. Respondent
The Respondent argues that the Complainant does not have exclusive rights to use the phrase "the lion's
den" and that the Respondent is not a competitor and has not infringed on the Complainant's trademark
rights.

The Respondent denies any knowledge of the Complainant or its mark prior to this dispute. He observes
that the mark was not registered until four and a half years after the Domain Name registration and also
that the Complainant does not operate retail stores in New Hampshire, where the Respondent resides, or,
indeed, in the New England region.
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The Respondent contends that he used the Domain Name for years as an email address and for a personal
website and only recently subscribed to Google Adsense to obtain PPC advertising revenue from a website
associated with the Domain Name. The Respondent refers to the Internet Archive's Wayback Machine for
evidence of his previous personal website. However, the Wayback Machine currently indicates that access to
historical versions of the website associated with the Domain Name has been "blocked by the site owner via
robots.txt."

The Respondent also asks the Panel to apply the equitable doctrine of laches to deny the Complaint, which
was brought fifteen years after the Respondent first registered the Domain Name.

6. Discussion and Findings

Paragraph 4(a) of the Policy provides that, in order to divest a respondent of a domain name, a complainant
must demonstrate each of the following:

(i) the domain name is identical or confusingly similar to a trademark or service mark in which the
complainant has rights; and

(ii) the respondent has no rights or legitimate interests in respect of the domain name; and

(iii) the domain name has been registered and is being used in bad faith.

Under paragraph 15(a) of the Rules:

"A Panel shall decide a complaint on the basis of the statements and documents submitted and in
accordance with the Policy, these Rules and any rules and principles of law that it deems applicable."

A. Supplemental Submission
The Policy contemplates prompt, efficient resolution of domain name disputes on a narrow range of issues
and with only two limited remedies, transfer or cancellation of a domain name. Accordingly, the Rules and
Supplemental Rules contemplate only a complaint and response, with strict time and page limits. There is
no explicit provision for additional filings except for further statements or documents provided in response
to a request from the Panel (Rules, paragraph 12). Paragraph 10 of the Rules directs the Panel to conduct the
proceeding "with due expedition" and empowers the Panel to "determine the admissibility, relevance,
materiality and weight of the evidence." Panels are consequently reluctant to encourage delay through
additional rounds of pleading and typically accept supplemental filings only to consider new evidence or
provide a fair opportunity to respond to new arguments. See, e.g., The E.W. Scripps Company v. Sinologic
Industries, WIPO Case No. D2003­0447, which ably describes appropriate criteria for considering
supplemental filings.

The Complainant's Supplemental Submission offers rebuttal arguments on several issues, including the
Respondent's asserted defense of laches, and challenges certain factual assertions in the Response
concerning the registration and use of the Domain Name. The Supplemental Submission does not offer
evidence that was previously unavailable on these points. The Panel considers the Complainant's reply to
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the Respondent's laches argument (an issue Complainant may not have anticipated being raised), which is
discussed further below, but otherwise declines to accept the Supplemental Submission as a part of the
record in this proceeding.

B. Laches
The Respondent argues that the Complaint should be denied because the Complainant has allowed the
Domain Name to be used unchallenged for fifteen years:

"At some point, a domain name registrant is entitled to quiet enjoyment of his domain name, free from the
fear that a trademark owner can take it from him by a UDRP."

The parties in the current proceeding are both located in the United States, where courts recognize the
equitable doctrine of laches, which can result in the dismissal of a complaint for undue delay in asserting
legal claims. However, in the United States, the defense of laches typically bars the recovery of damages
incurred before the filing of a lawsuit, and courts have concluded that the rationale behind the doctrine of
laches does not militate against injunctive relief in a trademark action that seeks to avoid future confusion
in the marketplace. See 5 J. Thomas McCarthy, McCarthy on Trademarks and Unfair Competition (4th ed.
2005) §31:10, p. 31­35 and cases cited therein. The remedies under the Policy are similarly injunctive rather
than compensatory in nature, and the focus is on avoiding confusion in the future as to the source of goods
or services. Thus, UDRP panels have generally declined to apply the doctrine of laches. See, e.g., Progman
Consulting Oy v. Whois Watchdog, WIPO Case No. D2010­1393 ("It is by now well established that
trademark doctrines of laches or estoppel have not been incorporated into the Policy"); The E.W. Scripps
Company, supra (the Policy does not contemplate a defense of laches, which is inimical to the Policy's
purposes); see also cases cited in the Index of WIPO UDRP Panel Decisions, sec. III(G)(1)(c).

The Respondent cites a recent UDRP decision, The New York Times Company v. Name Administration Inc.
(BVI), NAF Claim No. 1349045. There, the panel rejected the complainant's contentions that the
respondent had no rights or legitimate interests in the disputed domain name, and that the respondent had
registered the domain name in bad faith, because the panel found that "Respondent's rights are senior to
Complainant's." The panel also concluded that "the circumstances of this case are the type that support a
decision for the Respondent based on laches." The panel opined that "the doctrine of laches should be
expressly recognized as a valid defense in any domain dispute where the facts so warrant," on the theory
that an administrative proceeding offering an essentially equitable remedy (transfer of a disputed domain
name) should also recognize equitable defenses such as laches.

The Panel in the current proceeding declines to endorse this approach. As noted above, the Policy offers a
limited remedy to avoid future confusion in the marketplace, and it does not contemplate that such a
remedy would be unavailable because of delay in instituting a Policy proceeding. However, the Panel
observes that lengthy delays in seeking legal or administrative remedies can often have the effect of eroding
or undermining the complainant's arguments with respect to the respondent's rights or legitimate interests
in the disputed domain name, or the respondent's alleged bad faith in registering and using the domain
name. The Panel considers it more appropriate to address such issues squarely within the terms of
paragraphs 4(a)(ii) and (iii) of the Policy, rather than analyzing them under the equitable doctrine of laches.

A. Identical or Confusingly Similar
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The Complainant indisputably has rights in the registered mark THE LION'S DEN. The Domain Name is
nearly identical, omitting only the article "the" and the punctuation and spaces that are not technically
possible to include in DNS addresses.

The Respondent's contentions concerning priority and non­infringing use are inapposite. The Policy is not
based on proof of trademark infringement. Rather, this "standing" element of the Policy concerns only the
identity or confusing similarity of the Domain Name and a mark in which the Complainant currently has
rights. UDRP panels typically apply a "low threshold" test for confusing similarity under the first element of
a Policy complaint, proceeding to the merits of the case under the other elements of the Policy if there is
"sufficient similarity" between the disputed domain name and the relevant trademark. See, e.g., Research in
Motion Limited v. One Star Global LLC, WIPO Case No. D2009­0227; Sermo, Inc. v. CatalystMD, LLC,
WIPO Case No. D2008­0647. This is commonly tested by comparing the mark and the disputed domain
name in appearance, sound, meaning, and overall impression.

In cases involving slight differences in punctuation or spelling, UDRP panels regularly find sufficient
similarity to proceed to a consideration of the other Policy elements. See, e.g., Teva Pharmaceutical USA,
Inc. v. Mode L, WIPO Case No. D2007­0369 (finding the domain name <adipexp.com> confusingly similar
to the trademark ADIPEX­P because they are "pronounced in the same way despite the removal of the
dash"). As stated in Advance Magazine Publishers Inc. d/b/a Condé Nast Publications v. MSA, Inc. and
Moniker Privacy Services, WIPO Case No. D2007­1743:

"Panels have routinely held that the question under paragraph 4(a)(i) of the Policy is simply whether the
alphanumeric string comprising the challenged domain name is identical to the Complainant's mark or
sufficiently approximates it, visually or phonetically, so that the domain name on its face is 'confusingly
similar' to the mark."

The Panel finds that the Domain Name is visually and phonetically confusingly similar to the
Complainant's mark and concludes that this element of the Policy has been satisfied.

B. Rights or Legitimate Interests
Although the Complainant bears the ultimate burden of establishing all three elements of paragraph 4(a) of
the Policy, panels have recognized that this could result in the often impossible task of proving a negative
proposition, requiring information that is primarily if not exclusively within the knowledge of the
Respondent. Thus, the consensus view is that paragraph 4(c) of the Policy shifts the burden to the
Respondent to come forward with evidence of a right or legitimate interest in the Domain Name, once the
Complainant has made a prima facie showing indicating the absence of such rights or interests. See, e.g.,
Document Technologies, Inc. v. International Electronic Communications Inc., WIPO Case No. D2000­
0270.

Here, the Complainant relies on the fact that there is no evidence, apart from the Burg Declaration, that the
Respondent used the Domain Name for anything but a PPC website, which in some instances advertised
competing products. This effectively shifts the burden to the Respondent to demonstrate rights or legitimate
interests in the Domain Name.
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The Response says that the Domain Name was chosen with reference to the "lions den" from which the
ancient prophet Daniel was delivered in the Biblical account (which is the source of a common expression for
being placed in dire circumstances). This is not mentioned in the Burg Declaration, however, and the
Respondent has not offered evidence of any planned use of the Domain Name consistent with this generic
meaning. Screenshots of the PPC website formerly associated with the Domain Name indicate that Google
Adsense servers automatically displayed links to the Complainant and to competitors, as well as to biblical
websites and unrelated commercial websites.

The Burg Declaration claims the Respondent's interest in using the Domain Name for a "personal" website
and email. But the Respondent offers as supporting evidence of such use only a link to archived versions of
the website, which the Respondent has now apparently disabled with robots.txt.

On the present record, then, the Panel does not find that the Respondent has presented sufficient evidence of
rights or legitimate interests in the Domain Name to rebut the Complainant's prima facie case to the
contrary. The Panel concludes that the second element of the Complaint has been established.

C. Registered and Used in Bad Faith
The Policy's non­exhaustive list of instances of bad faith in paragraph 4(b) includes the following:

"(iv) by using the domain name, you have intentionally attempted to attract, for commercial gain, Internet
users to your web site or other on­line location, by creating a likelihood of confusion with the complainant's
mark as to the source, sponsorship, affiliation, or endorsement of your web site or location or of a product or
service on your web site or location."

The Complainant argues that this is precisely how the Respondent has used the Domain Name, at least
since associating it with a PPC advertising service that prominently featured links to the Complainant and
its competitors. The Burg Declaration denies such intent. However, given the Panel's conclusion below on
the issue of bad faith in the registration of the Domain Name, it is unnecessary to address the issue of the
Respondent's responsibility for the automated PPC advertising links displayed on the website that was
associated with the Domain Name for some period of time.

The Policy, paragraph 4(a)(iii), obliges the Complainant to establish that the Domain Name "has been
registered and is being used in bad faith." The consensus view since the Policy was implemented in 1999 has
been that the conjunctive "and" indicates that there must be bad faith both at the time of registration and
subsequently. Apart from unusual cases of a respondent's advance knowledge of a trademark, it is not
logically possible for a respondent to register a domain name in bad faith contemplation of a mark that does
not yet exist or of which the respondent is not aware. See WIPO Overview of WIPO Panel Views on Selected
UDRP Questions, paragraph 3.1, and cases cited therein ("Normally speaking, when a domain name is
registered before a trademark right is established, the registration of the domain name was not in bad faith
because the registrant could not have contemplated the complainant's non­existent right.") By contrast, the
dispute resolution policies for some top­level domains, such as ".eu" and ".uk", state the requirement
disjunctively, expressly providing that a complainant may prevail by establishing bad faith in the
registration "or" use of the domain name.
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The consensus view that the Policy requires bad faith at the time of registration of the domain name has
been challenged in some recent UDRP decisions, prominently City Views Limited v. Moniker Privacy
Services / Xander, Jeduyu, ALGEBRALIVE, WIPO Case No. D2009­0643 ("Mummygold") and Octogen
Pharmacal Company, Inc. v. Domains By Proxy, Inc. / Rich Sanders and Octogen e­Solutions, WIPO Case
No. D2009­0786 ("Octogen"); see also Ville de Paris v. Jeff Walter, WIPO Case No. D2009­1278; Jappy
GmbH v. Satoshi Shimoshita, WIPO Case No. D2010­1001. These decisions treat the requirement to
establish that the respondent "registered and used the domain name in bad faith" as a "unified concept."

The Mummygold/Octogen approach draws support from the fact that the example of bad faith given in
paragraph 4(b)(iv) of the Policy describes a use of the domain name at some time following registration. In
the view of the current Panel, however, this example does not alter the conjunctive requirement of paragraph
4(a)(iii). Evidence of subsequent use as described in paragraph 4(a)(iii) often gives rise to an inference of the
respondent's intent to make such use of the domain name from the time the Respondent selected and
registered it. Moreover, paragraph 4(b)(iv) is listed as "evidence of the registration and use in bad faith"; it is
not listed as conclusively demonstrating registration and use in bad faith. (Compare Policy paragraph 4(c),
                                                                                                1
which lists examples of conduct that "shall demonstrate your rights or legitimate interests") .

More fundamentally, the Mummygold/Octogen decisions depend on the Respondent's representation and
warranty in the registration agreement (in language mandated by the Policy, paragraph 2) that in
registering a domain name, and in maintaining or renewing a registration:

"you will not knowingly use the domain name in violation of any applicable laws or regulations. It is your
responsibility to determine whether your domain name infringes or violates someone else's rights."

The Mummygold/Octogen panels observed that this warranty could be breached by post­registration abuses
and concluded, as expressed in Octogen, that such conduct "may be deemed to be retroactive bad faith
registration."

The current Panel recognizes the value, in appropriate cases, of inferences of original intent based on
subsequent conduct. But the Panel does not find a compelling Policy or legal basis for retroactively
characterizing later abuses as bad faith in the "registration" of a domain name. In company with other
panels that have critiqued the Mummygold/Octogen decisions, this Panel is unwilling to overlook the plain
language of paragraph 4(a)(iii) of the Policy requiring a conclusion that the domain name has been
"registered" and "used" in bad faith. See, e.g., Validas, LLC v. SMVS Consultancy Private Limited, WIPO
Case No. D2009­1413; Eastman Sporto Group LLC v. Jim and Kenny, WIPO Case No. D2009­1688. In the
Panel's opinion, reading "registered" as a continuous act that can be abused at any time would appear to
make it essentially synonymous with "use" and deprive the conjunctive phrase of its full meaning.

The Panel is concerned as well that the Mummygold/Octogen reasoning runs counter to a decade of
decisions addressing the UDRP's conjunctive requirements for a demonstration of bad faith. This Panel
subscribes to the ideal of striving for a reasonable degree of predictability in Policy decisions, to guide
domain name registrants and trademark owners. As articulated in the WIPO Overview, paragraph 4.1:

"The UDRP does not operate on a strict doctrine of precedent. However panels consider it desirable that their
decisions are consistent with prior panel decisions dealing with similar fact situations. This ensures that the
UDRP system operates in a fair, effective and predictable manner for all parties."
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If a consensus developed that a line of prior decisions had reached the wrong result, and if panels generally
adopted a new approach on an issue, this Panel also would be open to considering whether a new approach
was appropriate, both substantively under the Policy and in order to promote consistency. However, the
Mummygold/Octogen reasoning has not prompted any such consensus; to the contrary, a number of
decisions have expressly considered and rejected it. See, e.g., Validas, supra; Eastman Sporto, supra;
Torus Insurance Holdings Limited v. Torus Computer Resources, WIPO Case No. D2009­1455; Camon
S.p.A. v. Intelli­Pet, LLC, WIPO Case No. D2009­1716; Tata Communications International Pte Ltd (f/k/a
VSNL International Pte Ltd) v. Portmedia Inc. / TRUEROOTS.COM c/o Nameview Inc. Whois, WIPO Case
No. D2010­0217 (majority opinion); Burn World­Wide, Ltd. d/b/a BGT Partners v. Banta Global Turnkey
Ltd, WIPO Case No. D2010­0470; A. Nattermann & Cie. GmbH and Sanofi­aventis v. Watson
Pharmaceuticals, Inc., WIPO Case No. D2010­0800 (majority opinion). The fact that so many panelists
have declined to follow the Mummygold/Octogen approach argues against an emerging consensus to
overturn a long­established doctrine and provides yet another reason for this Panel to decline to adopt the
Mummygold/Octogen reasoning.

The Panel emphasizes that its decision not to follow Mummygold and Octogen, does not discount the
relevance of paragraph 2 of the Policy to the question of bad faith registration in appropriate cases.
Paragraph 2 of the Policy requires a domain name registrant "to determine whether your domain name
infringes or violates someone else's rights." That may create an obligation on a registrant to conduct some
due diligence in order to determine whether the domain name at issue infringes any third party rights,
especially if the registrant intends to use it for commercial purposes such as a PPC website. Cf. Mobile
Communication Service Inc. v. WebReg, RN, WIPO Case No. D2005­1304. In this case, though, Respondent
has persuasively shown that he registered the Domain Name for personal purposes and was inspired by the
biblical meaning and common usage of the Domain Name, not Complainant's trademark. In these
circumstances, where the intended use at the time of registration was noncommercial and the Respondent is
not a professional domainer, the registration cannot be considered to have been in bad faith because the use
to which Respondent intended to put the Domain Name, at the time of registration, could not be considered
infringing. Cf. mVisible Technologies, Inc. v. Navigation Catalyst Systems, Inc., WIPO Case No. D2007­
1141 ("[A] sophisticated domainer who regularly registers domain names for use as PPC landing pages
cannot be willfully blind to whether a particular domain name may violate trademark rights. In this context,
a failure to conduct adequate searching may give rise to an inference of knowledge.").

Having decided that the Complainant must adduce persuasive evidence of bad faith at the time of
registration of the Domain Name, the Panel finds the Complaint fatally deficient2 . The Complainant
contends that the Respondent must have been aware of the Complainant's mark when the Respondent
registered or obtained the Domain Name. The mark was registered only in December 1999, however, four
and a half years after the Domain Name was created in May 1995. The Burg Declaration states that the
Respondent registered the Domain Name at that time and has continuously maintained the registration
since, and that the Respondent was not aware of the Complainant or its mark in 1995.

The Complainant speculates that the Respondent actually may have obtained the registration at some later
date, but there is no persuasive evidence of this in the record. The Complainant has not, for example,
submitted archived versions of historical WhoIs database records, such as those that might be available
from DomainTools.com, showing that the Domain Name was previously registered to another party. This is
the sort of evidentiary issue that might be more fully explored in litigation than in a UDRP administrative
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proceeding in which there are no discovery procedures or evidentiary hearings. The Panel finds the
statements in the Burg Declaration, signed under penalty of perjury, to be credible and consistent with the
limited record available in this proceeding.

The Respondent plausibly denies prior knowledge of the Complainant's adult stores and website. He does
not reside in a metropolitan area where one of the stores is located, and there is no evidence before the Panel
indicating that the Complainant even operated a website in 1995. Indeed, according to the relevant
Registrar's WhoIs database, the Complainant did not register the domain name currently used for its
website until August 1999, more than four years after the Respondent registered the Domain Name. Thus,
even if the Panel were to accept the Complainant's claim of common law trademark rights in 1995, there is
no persuasive evidence that the Respondent was likely aware of the Complainant's mark. There is no
evidence in the record, for example, of direct dealings between the Complainant and the Respondent or of
pervasive advertising and publicity in 1995 that would cast doubt on the Respondent's denial. It appears
from the record that the Respondent's PPC use of the Domain Name, with links relevant to the
Complainant's business, did not commence until several years after the Respondent registered the Domain
Name.

Accordingly, the Panel concludes that the Complainant has not met its burden of establishing the
probability that the Respondent registered the Domain Name in a bad faith effort to exploit the
Complainant's mark.

7. Decision

For all the foregoing reasons, the Complaint is denied.

W. Scott Blackmer
Presiding Panelist

David H. Bernstein
Panelist

David E. Sorkin
Panelist
Dated: February 7, 2011



1 "Section 6 above makes now reference to paragraph 4(b)(iv) of the Policy. When the decision was originally
issued, paragraph 4(b)(iii) of the Policy was mentioned, but the typographical error has been subsequently
identified and corrected."

2 The Panel notes that the representations required by paragraph 2 of the Policy apply to the renewal as well
as the initial registration of a domain name: "By applying to register a domain name, or asking us to renew
a domain name registration, you hereby represent and warrant to us that … (d) you will not knowingly use
the domain name in violation of any applicable laws or regulations. It is your responsibility to determine
whether your domain name infringes or violates someone else's rights." Policy, paragraph 2 (emphasis
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added). However, it is not necessary for the Panel in this proceeding to determine whether the Respondent's
intentions at the time of renewal reflect bad faith in the "registration" of the Domain Name, as there is no
evidence in the record concerning the renewal of the Domain Name registration.
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                            WIPO Arbitration and Mediation Center

                                                ADMINISTRATIVE PANEL DECISION

          WWF­World Wide Fund for Nature aka WWF International v. Moniker Online Services LLC and Gregory Ricks

                                                        Case No. D2006­0975



1. The Parties

The Complainant is WWF­World Wide Fund for Nature aka WWF International, (formerly World Wildlife Fund), Gland, Switzerland,
represented by Edwin Coe, United Kingdom of Great Britain and Northern Ireland.

The Respondents are:

(i) Moniker Online Services LLC, Florida, United States of America; and

(ii) Gregory Ricks, Texas, United States of America, represented by John B. Berryhill, Ph.d. Esq., United States of America.



2. The Domain Name and Registrar

The disputed Domain Name <wwf.com> is registered with Moniker Online Services, LLC.



3. Procedural History

The Complaint was filed with the WIPO Arbitration and Mediation Center (the “Center”) on August 2, 2006. On August 3, 2006, the
Center transmitted by email to Moniker Online Services, LLC (“Moniker”) a request for registrar verification in connection with the
Domain Name at issue. On August 8, 2006, Moniker transmitted by email to the Center its verification response. It advised that
Gregory Ricks was the registrant (371299) and provided contact details for his administrative, billing, and technical contacts. In
response to a notification by the Center that the Complaint should show Mr. Ricks as another Respondent, the Complainant filed,
under protest, an amendment to the Complaint on August 30, 2006. The Center verified that the Complaint, together with the
amendment to the Complaint, satisfied the formal requirements of the Uniform Domain Name Dispute Resolution Policy
(the “Policy”), the Rules for Uniform Domain Name Dispute Resolution Policy (the “Rules”), and the WIPO Supplemental Rules for
Uniform Domain Name Dispute Resolution Policy (the “Supplemental Rules”).

In accordance with the Rules, paragraphs 2(a) and 4(a), the Center formally notified the Respondent of the Complaint, and the
proceedings commenced on August 31, 2006. In accordance with the Rules, paragraph 5(a), the due date for the Response was
September 20, 2006. The Response was filed with the Center on September 20, 2006 by Mr. Ricks.

The Center appointed the Honorable Sir Ian Barker QC, Mr. Kiyoshi I. Tsuru and Professor David E. Sorkin as panelists in this matter
on September 29, 2006. The Panel finds that it was properly constituted. Each member of the Panel has submitted the Statement of
Acceptance and Declaration of Impartiality and Independence, as required by the Center to ensure compliance with the Rules,
paragraph 7.

On September 21, 2006, the Complainant lodged with the Center a witness statement from its solicitor, Mr. Clark, seeking to
comment on one particular matter raised in the Response, namely the date on which Mr. Ricks acquired the disputed Domain Name.
This statement suggested that the disputed Domain Name had been acquired by Mr. Ricks on January 20, 2003, and not “in late
2003” as stated by Mr. Ricks in a statement annexed to the Response.

The Respondent, to whom the Complainant had copied the statement of Mr. Clark, filed a memorandum both acknowledging his
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mistake and also commenting on additional material in Mr. Clark’s statement. The Respondent had alleged in his initial statement,
made under penalty of perjury, that promptly upon purchase of the Domain Name, he had set up the Web Wrestling Forum. A later
similar declaration claimed that he had “confused” the timeframe within which he had set up the Web Wrestling Forum with the time
of purchase of the Domain Name and that his error had been unintentional.

The Panel, on October 6, 2006, issued a Procedural Order indicating that these two documents would be considered by the Panel
which would then make a decision whether to admit them once it had consideration. The Panel noted that no application had been
made for leave by the Complainant to file this document.

Parties have been reminded many times by WIPO Panels that there is no right as such to make supplementary filings and that the
leave of the Panel should always be obtained rather than presumed. In the event, because the supplementary filings proved the date
of the registration of the disputed Domain Name, an important fact in this case, the Panel has decided to consider these filings.

On October 13, 2006, the Panel requested comment from the parties on a demand that had been made to the Center by Moniker that
it be removed from the proceedings on the ground that Mr. Ricks was now shown in the WHOis information as the registrant. The
Panel also sought a report from Moniker on how the registration had changed after the Complaint had been filed, if that was what
had occurred. The answers provided have been considered by the Panel.

On October 20, 2006, the parties and Moniker sought to file further submissions. The Panel refused this unmotivated request. The
Panel considered that the parties had had ample opportunity to present their cases, including the filing of further submissions
already.

On October 20, 2006, the Panel noted with concern and disapproval the unnecessarily large volume of documents produced by the
Complainant in support of its Complaint. The exhibits weighed some five kilograms.

In the Panel’s view, for example, it was not necessary for the Complainant to have exhibited the text of so many different trademark
registrations (some in languages other than English – the language of the registration agreement) from a whole variety of countries
with which the Respondent has no connection. One should have thought it sufficient for the relevant United States trademark to have
been exhibited along with a summary of registration details of trademarks in other countries. In general, there was what can only be
described as an “overkill” of documentation by the Complainant in areas where a summary would have sufficed. Such “overkill” is
oppressive for both the Center and the Panel. Submission of such a large amount of documentation with a complaint gives rise to a
prima facie presumption that the dispute is not readily susceptible to the streamlined adjudication process available under the
UDRP.



4. Proper Respondent(s)

The name of the Registrant of the disputed Domain Name at the time when the Complaint was filed was Moniker Privacy Services.
After the Complaint had been filed, the Center sought particulars of the registration and was advised by Moniker that Mr. Gregory
Ricks was the registrant and his details were provided immediately.

From the material before the Panel, it transpires that Mr. Ricks acquired the disputed Domain Name through a privacy service
operated by Moniker, known as Moniker Privacy Services. His aim in using a privacy service, as alleged in the Response, was to
avoid unwanted junk and spam email and telephone solicitations made on the basis of information published in the WHOis
database. Mr. Ricks acknowledged that the Domain Name had been registered by him using the Moniker Proxy service.
The Complaint was amended at the request of the Center to show both Moniker and Gregory Ricks as Respondents. The
Complainant had opposed this request but in the end went along with it.

Mr. Ricks has acknowledged his involvement as the registrant and has invited the Panel to regard his conduct as that of the
Respondent for the purposes of decision. It is accordingly appropriate to refer to him as the Respondent. References hereafter to the
Respondent will be to Mr. Ricks.

Mr. Ricks used a proxy service to achieve registration of the disputed Domain Name. This is becoming an increasingly common
occurrence. Under this arrangement the name of the true registrant is not displayed in the Registrar’s WHOis database. It is said that
proxy registrations have become popular with the rise of automatic harvesting of email and postal addresses and telephone numbers
for the purpose of email spamming, direct marketing by mail and phone and also for fraud and identity theft. (See Fifth Third Bancorp
v. Secure Whois Information Service, WIPO Case No. D2006­0696.)

In the early days of cases under the Policy, there were numerous instances where respondents had provided false or misleading
contact information. The famous Telstra v. Nuclear Marshmallows, WIPO Case No. D2000­0003, is a good example. In almost all
those cases, Panels were able to take a rather jaundiced view of the provision of false information by registrants hiding behind an
alias or the name of some other person. However, there can be wholly legitimate reasons for a person wishing to protect privacy by
means of a proxy service. Many reputable registration services now offer a proxy registration service.

Difficulty arises when an administrative proceeding is brought under the Policy, at which stage the domain name should become
frozen pending resolution of the Complaint. Without addressing here the proper position vis à vis trademark owners making enquiries
in the context of a possible complaint, it is for the Proxy to disclose the contact information of the beneficial owner to the dispute
resolution provider and any Panel appointed by that provider. In the present case, full disclosure of Mr. Ricks’ beneficial ownership of
the disputed Domain Name has been made by Moniker. But there could be difficulty if the Proxy did not do so. There is a potential for
abuse by cybersquatters.
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Clause 3.7.7.3 of the ICANN Registrar Accreditation Agreement is relied on by Moniker and provides as follows:

“Any Registered Name Holder that intends to license use of a domain name to the third party is nonetheless a registered domain
holder of record that is responsible for providing its own full contact information and providing and updating accurate administrative
contact information that it could to facilitate timely resolution of any problems that arise in connection with a registered domain name.
A Registered Domain Name Holder licensing use of a registered name according to this provision shall accept liability for harm
caused by wrongful use of the registered name, unless it promptly discloses the identity of the licensee to the party providing the
Registered Name Holder reasonable evidence of actionable harm.”

The Panel is not satisfied that the above clause really covers the proxy phenomenon. It seems to refer to the licensing of the use of a
domain name in much the same way as to the licensing of the use of a trademark.

Once it was aware of the Complaint, Moniker should not have changed the publicly­available WHOis information as to the identity of
the registrant, in addition to making the above­mentioned disclosure. It has taken on the responsibility of the registration of domain
names on behalf of another and presumably, has obtained some business advantage for this service. One of the consequences of
this mode of doing business is that during the pendency of a UDRP proceeding the Proxy as registrant cannot change the domain
name registration or transfer it to the beneficial owner.

Under the Policy and Rules as presently worded, any transfer of the name of the registrant, no matter how well­intentioned, should
not occur because of paragraph 8(a) of the Policy. Nor is proxy registration the same thing as naming the true registrant in the register
but giving the registrant’s address as being care of the Registrar. The Panel further notes that any transfers by proxy holders in the
context of a UDRP case also raise questions as to how to ensure that the transferee was indeed the beneficial owner for whom that
registration had been made.

If the Complainant were to prevail in this proceeding, then there would normally have to be a transfer from the registrant (in this case
Moniker) to the Complainant in terms of the Policy, despite the underlying beneficial ownership.

The Panel in the Fifth Third Bancorp case considered that the party who registered the domain name is a proper respondent in a
UDRP proceeding. However, this Panel disagrees with the view expressed in that case that the Policy does not contemplate in rem
proceedings against the Domain Name as if it were a certain kind of property such as land or ships where the register is paramount.
Because of the complications that may arise from the use of proxies or indeed from cases where wholly fictitious registration
information has been provided and the true registrant cannot be known, then there is much to be said for considering the disputed
Domain Name as an asset in rem susceptible to a cancellation or transfer order. That would make the system similar with, for
example, land registration under the Torrens system (used in many common law jurisdictions) or ship registration. It may also offer a
practical approach in the context of the UDRP to the increasing use of automated registration programs, which seem to make ‘moving
targets’ out of registrants.

Indeed, the definition of Respondent in the Rules “means the holder of a domain name registration against which a Complaint is
initiated”. The Rules seem to contemplate only the holder of the registration as the respondent. The practice of having naming both
the Proxy Service and the beneficial owner of the registration was followed in two recent WIPO decisions Midwest/GRS Inc and
Others v. Moniker Privacy Services/Forum LLC/Registrant 187640 info@fashionid.com, WIPO Case No. D2006­0478 and MBI, Inc. v.
Moniker Privacy Services/Nevis Domains LLC, WIPO Case No. D2006­0550.

The procedure in proceedings involving a proxy WHOis service was described in Ohio Savings Bank v. 1&1 Internet, Inc. and David
Rosenbaum, WIPO Case No. D2006­0881 as follows:

“When such circumstances arise, the Panel understands that the Center’s current practice is typically to require the
complainant to amend the complaint – either to name both the privacy service registrant and the party using the privacy service
or to simply name the party using the privacy service. This practice is sensible and has the benefit of trying to get notice of the
proceeding to the party that is most affected the proceeding. However, it may simply be that one of the disadvantages of using
a privacy service – to be weighed against the advantages of using such a service – are delays or lack of notice of proceedings
that rely on the information contained in the registration record to provide notice. By this the Panel does not intend to suggest
that such a delay or lack of notice is insignificant, but that they may simple be one of the consequences of the choice to use
such a service, particularly where proceedings under the Policy look to and rely on information in the registration record
maintained by the registrar.”

The practice of having two Respondents to a proceeding under the Policy where one is the entity against which any order has to be
made and the other is the party vitally interested in the outcome and whose conduct is in issue is well­recognised in litigation and in
rules of civil procedure – certainly in common law jurisdictions, as it helps to inform interested parties. This may not always be
practicable, however, and in any event is not a requirement under the Policy or Rules, which are predicated on the responsibility of
the registered holder of the domain name.

Moniker made a preemptory demand to the Center that its name be discharged from the proceedings. The Panel referred this request
to the parties for comment. It also requested Moniker to advise whether the name of the registrant had been changed and its
justification for so doing. The Complainant insisted that Moniker should remain and the Respondent submitted that it should not but it
was indifferent. The Panel has considered these comments.

Moniker replied to this invitation somewhat acerbically. It challenged the right of the Center to make the enquiry. It relied on Clause
3.7.7.3 of the Registrar Accreditation Agreement, cited earlier, as a justification for showing Mr. Ricks as registrant on receipt of the
Complaint.
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It is not part of the Panel’s functions to adjudicate on a registrar’s obligations except to the extent those obligations impinge on a
UDRP complaint. The Panel, as indicated earlier, does not read that clause in that way, but this proceeding provides no forum for the
proper disposition of that point of interpretation. All the Panel can do is make its own interpretation of the clause which does not, on its
terms, permit a change in the publicly notified registrant while a complaint about the disputed Domain Name remains unresolved.

The Panel considers that this Complaint should proceed with both named parties for the reasons discussed above. It should be
stressed that Moniker remains a pro forma respondent: that the conduct to be discussed in this decision is that of Mr. Ricks and not
that of Moniker and that Moniker has acted promptly in supplying Mr. Ricks’ details.



5. Factual Background

The Complainant is a Swiss­registered charitable organization founded in 1961 as World Wildlife Fund. It is now known as WWF
Worldwide Fund for Nature and also as WWF International. It is the largest private international nature organization in the world. Via
affiliated national organizations, it has virtually a worldwide presence, having some 5 million individual contributors. Over the last 10
years, it had been engaged in 3682 conservation programs in 184 different countries.

Generally, the Complainant uses the initials WWF with a depiction of a great panda. The initials with the Panda device are used to
raise its profile through extensive merchandising activities throughout the world.

The Complainant owns numerous trademarks throughout the world for WWF and also for WWF plus the Panda device. Most of these
marks were registered before the Respondent acquired the disputed Domain Name, including registrations in the United States long
before that date. 261 out of 311 registrations of the letters WWF predate January 20, 2003, in 94 different countries – 385 out of 401
registrations of the letters WWF plus the Panda device in 108 different countries, predate January 20, 2003. The national
organizations affiliated to the Complainant are licensed to use the marks. These have been used on periodicals, reports and goods
by licensees of the Complainant and/or its national organizations for many years, including prior to January 20, 2003.

No license to use any of its trademarks was ever given to the Respondent, by the Complainant or any of its authorized national
institutions.

The disputed Domain Name was first used by a company originally called Worldwide Wrestling Federation, more recently, World
Wrestling Federation (“the Federation”). In 1979, it traded under the initials WWF and its activities were broadly confined to the United
States until the late 1980s. The key business of the Federation was live wrestling entertainment events. It marketed magazines,
videos and other merchandise through the use of the WWF mark.

There had been a number of law suits between the Complainant and the Federation relating to trademark applications made by the
Federation in various parts of the world which led to an agreement between the Complainant and the Federation dated
January 20, 1994, over the use of the marks. In 1992, a Court in Switzerland had issued an ex parte injunction at the behest of the
Complainant against the Federation, prohibiting the distribution of the Federation’s WWF magazine. The Judge in that case noted
that the Complainant had for some time been widely known as WWF and that various products had been marketed by the
Complainant under this name with a high degree of recognition, both of the mark WWF both in isolation and also in conjunction with
the panda image.

In 1999, the Complainant issued proceedings in the High Court of Justice in England against the Federation over its use of the
initials WWF in alleged breach of the 1994 agreement, which had settled previous disputes regarding the use of the initials.
On August 2001, the Complainant was granted an injunction and other relief. Following unsuccessful appeals by the Federation, the
injunction became effective on November 10, 2002. Part of the Court’s order against the Federation was that it should take the
necessary steps, at its option, to transfer to the Complainant or to cancel or change any of its domain names incorporating the initials
WWF.

The legal proceedings against the Federation received considerable publicity and numerous media extracts were provided by the
Complainant showing that this publicity was quite extensive in the United States, including in newspapers circulating in the areas
where Mr. Ricks resides. The thrust of the articles was to emphasize that the Complainant had prevailed over the Federation in the
use of the letters WWF.

The Federation did not take the option of transferring the disputed Domain Name to the Complainant given to it by the judgment.
Despite efforts by the Complainant to acquire the name via a domain name watching service, the disputed Domain Name was
acquired from the Federation by one Frank Baach, trading as Newbrand, on December 1, 2002. It was offered for sale by him on an
Internet domain name discussion forum for a minimum price of $10,000. The circumstances of Mr. Baach’s acquisition of this
disputed Domain Name were made public on the “www.dnforum.com” website, then run by Mr. Ricks.

The Complainant contacted Mr. Baach with a view to negotiating a transfer and had prepared an administrative proceeding for
submission to WIPO. However, on January 20, 2003, the Domain Name was transferred to Mr. Ricks, trading as “Motherboards.com
Inc.”. Following this transfer, the Domain Name resolved to a website that provided links to other websites offering various goods and
services. Later, the Domain Name resolved to a website carrying a discussion forum for wrestling entertainment fans.

The exact date on which the Web Wrestling Forum website first appeared is unclear. According to the Complainant’s research into
archival material, this may not have occurred before June 2004. Copies of the same page in June, October and November 2004,
show links to third­party websites offering goods and services unrelated to wrestling. A website archive of April 2005 shows links to
“World wild life fund”, “Wildlife” and “conservation”. The Respondent contends that the archived pages are not necessarily reliable.
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On October 6, 2005 the website of the disputed Domain Name resolved to a series of links to third­party websites selling various
goods and services. Some of the links have titles associated with the Complainant and its activities such as the link titles of “giant
panda”, “environmental education”, “wild life” and “WWF”. Since the Complaint was prepared, there has been a change in the
content of the website.

The Respondent registered the disputed Domain Name on January 20, 2003. He pointed to four WIPO decisions in 2000 where the
Federation had successfully upheld its rights to the disputed Domain Name against parties other than the Complainant in the present
case.

The Respondent in January 2003 owned <dmforum.com>, which he later sold. He has a history of operating multi­party, advertising­
supported weblogs such as <dmforum.com>. He operated the Web Wrestling Forum until September 2005, when he had a
disagreement with the administrator whom he designated to run the Web Wrestling Forum.

The Respondent, through affiliates, has been involved as Respondent in other UDRP proceedings both with WIPO and NAF
(National Arbitration Forum). In the two WIPO decisions, Welch Foods, Inc., A Cooperative v. MSS, WIPO Case No. D2001­1065, and
Philip Morris USA Inc. v. Domain Admin, WIPO Case No. D2005­0108, the Respondent filed no Response and was ordered to
transfer domain names of well­known marks. He was also sued by the Playboy organisation over the use of one of its domain names.
In the two NAF cases in which he prevailed, one was for a generic term and in the other, the mark was registered two years after the
domain name.

The Complainant did not file this proceeding until some three­and­a­half years after the disputed Domain Name was registered. It
claims it had prepared a Complaint against Mr. Baach but did not proceed with it after Mr. Baach had transferred the Domain Name. It
then prepared an amended complaint, but before it was filed, the Domain Name referred to a website for wrestling. According to the
Complainant’s research, this did not happen until June 2004. No reason for the Complainant’s inaction between January 2003 and
June 2004 was given. The Complainant perceived this new use might make its chances of success more difficult. It claims to have
been unaware of the transfer to Moniker “for some time”.



6. Parties’ Contentions

A. Complainant

The disputed Domain Name is identical to the numerous trademarks for the letters WWF owned by the Complainant and is identical
to the numerous trademarks for WWF plus the Panda device.

The Respondent has no rights or legitimate interests in respect of the Domain Name and was not granted any by the Complainant or
by its national organizations nor is he commonly known by the initials WWF.

The date at which good faith should be considered is the date on which the Domain Name was acquired by the present Respondent,
namely January 20, 2003.

Anonymous registration under Moniker’s Domain WHOis Privacy Service is an indication of bad faith. The Respondent must have
known of the success of the Complainant against the Federation in the English Court case because of the extensive publicity
throughout the world including particularly on the Internet and in the United States media.

The Respondent’s registration of a Domain Name corresponding to a well­known mark is evidence of registration in bad faith and the
ongoing holding of such a Domain Name is evidence of use in bad faith.

By using the disputed Domain Name, the Respondent has intentionally attempted to attract for commercial gain Internet users to its
website by creating a likelihood of confusion with the Complainant’s mark as to the source, sponsorship, affiliation or endorsement of
its website. This is proved by the fact that many of the links have titles associated with the Complainant and its activities. It is well­
known that persons in the position of the Respondent receive “click­through” commissions. After the Domain Name had been
acquired, there was a period when the website was used for “click­through” purposes long before the Web Wrestling Forum website
got under way.

The Respondent has previously engaged in a pattern of conduct of registering domain names in order to prevent a Complainant from
reflecting marks in a corresponding domain name. Mr. Ricks acknowledged, in the domain name forum discussion, that he had been
sued by Playboy over his registration of <playboybunny.com>. In two cited WIPO decisions and one NAF decision, domain names
registered by him had been ordered to be transferred.

Long before the Respondent’s dispute with an employee in September 2005, he had used the website for “click through” sales of
third party goods and services.

B. Respondent

The Complainant has historically not been associated with the letters WWF but the Federation has been. There were references to
WIPO decisions in 2000, where the Federation had upheld its right to the disputed domain names against others than the
Complainant in the present case. The Respondent purchased the disputed Domain Name from a party that had utilized a back­order
service for abandoned domain names. The Respondent then established the Web Wrestling Forum which, as the Complainant
acknowledged, point to a website containing discussion forum for wrestling entertainment fans.
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The Respondent stressed that the Complainant stated in its Complaint that it had perceived “that this new use might make it more
difficult to mount a successful administrative proceeding complaint”.

As an archived page from November 13, 2004 shows, the Web Wrestling Forum had grown to encompass 5996 registered users and
an archive of 151,472 messages posted. During this time, the only contact made by a third party to the Respondent was by a
representative of the Federation to confirm that the Respondent was not representing himself to be the Federation.

The Respondent has a well­established history of operating multi­party advertising supporting web logs such as DN Forum. Current
examples include “www.wallyworldsucks.com”, an online forum devoted to discussions concerning the retailer Wal­Mart. Mr. Ricks
purchased DN Forum from its originator and has subsequently sold it.

The Internet archive shows that prior to notification to him of the dispute, the Respondent was using the Domain Name for a bona fide
offering of goods and services i.e., the Web Wrestling Forum, which has nothing to do with wildlife conservation.

The Respondent was not a party to any agreement or judgment arising out of the litigation between the Complainant and the
Federation. In September 2005, Mr. Ricks had experienced difficulty with his administrator of the Web Wrestling Forum. Therefore he
shut down the Forum and parked the home page pending its resurrection.

As to bad faith the Respondent provided a statement under sanction of perjury that he had no knowledge of the litigation or dispute
between the Federation and the Complainant when he registered the disputed Domain Name in January 2003.

He operated the Forum with express knowledge of the former registrant, namely the Federation. His use of a proxy service is not per
se evidence of bad faith. The situation is quite unlike that of the Telstra v Nuclear Marshmallows case which involved fictional Whois
data expressly designed to evade notice and liability. Here the Complainant knows from its own research, the exact identity of the
Respondent who has filed the Response and Moniker provided the information promptly.

The Respondent ultimately prevailed in one of the UDRP decisions mentioned by the Complainant and succeeded in three other
named NAF decisions under the Policy, particulars of which were given.

The Respondent criticizes the Complainant’s delay in filing this Complaint. It refutes the imputation that the use of the temporary,
recent parking page suggests that the Respondent was badly motivated at the time when he acquired the disputed Domain Name.
The reason for the parking page was that the Respondent’s forum site had been sabotaged by a former employee and that the
Respondent had therefore shut down the forum and parked the home page. He has no control over the links provided by the parking
service which included, for a brief period of time, links relating to wild life.

Even if the situation relative to the Complainant’s prior litigation was understood by the Respondent at the time of registration, it was
not bad faith directed towards the Complainant. To persons such as the Respondent, not directly involved in the litigation between
the Complainant and the Federation, the external appearance was that the Complainant was seeking to have the Federation cease
all uses of WWF as its mark whether online or offline. The Complainant did not want to obtain a transfer of the Domain Name as a
result of the litigation because it did not obtain an order expressly requiring the transfer of the Domain Name. It is a reasonable
assumption that it did not want it. No mention was made to the Respondent by Mr. Baach of any contact of him by the Complainant.

In summary, Internet users would naturally assume that the disputed Domain Name related to the subject of wrestling because that is
what it had been used for over a period of 10 years. The Federation had protected its use of the disputed Domain Name over that
period.



7. Discussion and Findings

A. Identical or Confusingly Similar

The disputed Domain Name is identical to numerous trademarks for the letters WWF owned by the Complainant in the United States
and in many other countries. It is also confusingly similar to those marks which have the letters WWF plus the device of the Panda.

It matters not whether the disputed Domain Name was owned by the Federation until the conclusion of the litigation with the
Complainant in 2002. The Policy merely requires that Complainant demonstrate that it has rights in trademarks registered or
unregistered as at the time of filing its Complaint. It has clearly succeeded in doing just that.

There is overwhelming evidence that the Complainant owns a large number of trademarks worldwide. It has shown the indicia for a
common law mark as well. Therefore the first criterion under the Policy is proved.

B. Rights or Legitimate Interests, Registration and Use in Bad Faith

Whilst it is clear that the Complainant or its national organization gave no rights to the Respondent, it is possible for a Respondent to
demonstrate that it is not caught by this limb of the Policy if it can show that before notice of the dispute, he had made reasonable
preparations for the conducting of a legitimate business using the disputed Domain Name. Consideration of this aspect is often linked
with the consideration of bad faith. In this case, the two are so intertwined that the Panel considers them in tandem.

Under the Policy bad faith registration and use both have to be proved separately. There have been many cases where ample
evidence of bad faith use has been able to justify the inference of bad faith registration.
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A complicating factor here is that the Complainant did not file its Complaint until three­and­a­half years after the disputed Domain
Name had been transferred to the Respondent. It is clear from WIPO jurisprudence that the date of bad faith registration must be
assessed as at the date on which the current Respondent acquired the disputed Domain Name, which is established as
January 20, 2003. Whilst there is no time limit for filing a complaint under the Policy, nor does the equitable doctrine of laches find
any place in the Policy, it can nevertheless become more difficult for a Complainant to infer bad faith registration the greater the
distance between the dates of registration and of the filing of the Complaint.

The Respondent in his first statement under penalty of perjury, said that his acquisition of the disputed Domain Name was “late
2003”. When the Complainant pointed out that it was January 2003, the Respondent claimed to have made an error in his first sworn
statement and to have confused the timeframe within which he had planned to launch the Web Wrestling Forum. The Panel does not
find this explanation convincing. In a statement made under penalty of perjury, precision is to be expected. The relevant facts must
have been readily available to the Respondent at the time of making the first statement.

The Panel notes that the Complainant apparently did not obtain an order from the Court in England requiring the Federation to
transfer the disputed Domain Name to the Complainant, which allowed the name to become disused and, as happened, to be picked
up by the various services which scavenge for discarded domain names. Be that as it may, the Complainant clearly knew from its
dealings with Mr. Baach that the Federation was trying to sell the name.

Any decision on the second two criteria under the Policy must focus in this case on whether bad faith registration occurred when
Mr. Ricks purchased the Domain Name from Mr. Baach. It is difficult to see why a complaint could not have been made at that time.
The situation could not have changed three­and­a­half years later. The Panel finds curious the Complainant’s equivocation about
filing a Complaint. The Complainant says that it considered that it had less chance of success because of the advertising of wrestling
and the creation of a wrestling forum at the website of the disputed Domain Name but that did not occur until 2004 at the earliest, so it
is hard to see why the Complaint was not filed before then.

It is only either in April 2005 or after the later falling­out between Mr. Ricks and his employee that there was created a parking site
which had click sites through to environmental websites which could have created confusion into thinking that the Domain Name was
associated with the Complainant. That in the Panel’s view could be evidence of bad faith use but, given the lapse of time between
registration and April 2005, that fact does not help in assessing whether there had been bad faith registration.

Even if the Respondent had been aware of the dispute between the Complainant and the Federation he could well have been
unaware of the details of the Court’s order such as that relating to the use of the disputed Domain Name. He did know that the
Federation had lost the case and that the Complainant had prevailed with its trademark rights upheld.

What the Panel finds unexplained by the Respondent is the fact, unchallenged by him, that his first use of the disputed Domain Name
– well before the wrestling forum was instituted – was of a site offering goods and services by click­through.

The Respondent claims that, if he registered in bad faith, then that bad faith was directed at the Federation and not the Complainant.
Yet he admitted in his first statement under penalty he knew that the Federation had resolved a dispute with the Complainant and that
the Federation had changed its name because of legal action. He claimed as his understanding at the time that any resolution of the
dispute would have seen the Domain Name transferred to the Complainant rather than have the name available for purchase
through a service for the sale of disused domain names.

The Panel is able to infer from the facts as follows:

(a) The Respondent is highly­experienced in domain name disputes under the UDRP.

(b) He must have seen considerable value in owning the disputed Domain Name for which he paid $10,000.

(c) That value lay not only in its being a 3­letter domain, but in its notoriety as letters representing the Federation which were now
held by a Court, with worldwide publicity, rightly to belong to the Complainant.

(d) The fact that the disputed Domain Name was on the market and not transferred to the Complainant was an indication to the
Respondent (and anyone else) that the disputed Domain Name had not been part of any order made in the litigation. One could not
expect the media to carry, or the Respondent to know, the minute detail of the Court’s order.

Bad faith at registration against the Federation cannot be inferred as bad faith against the Complainant. There is probably not bad
faith against the Federation if that body elected to release the disputed Domain Name on to the market.

The interval between the Domain Name registration in January 2003 and the appearance of wild­life etc. links on the website some
time after April 2005 is just too long to justify an inference of bad faith registration at the time of registration.

The Panel is faced on one hand with the Respondent’s statement under penalty of perjury that he did not know of the Complainant’s
interest in the disputed Domain Name at the time. On the other hand, there is a rather weak inference that as at January 2003,
Mr. Ricks knew not just that the Domain Name related to the Federation, but that the corresponding trademark rights really belonged
now to the Complainant. The Panel is in no position to find which stance is correct. There would have to be a finding made by a Court
after hearing evidence.

In other words the Panel has not found it proved that there has been bad faith registration against the Complainant. It also means that
if what the Respondent asserts is true, then he has shown “demonstrable preparations” to use the name in respect of a legitimate
business (the Web Wrestling Forum) before notice of a dispute, thus bringing the Respondent within one of the provisions of
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paragraph 4(c) of the Policy. In that event, the second and third limbs of the Policy have not been proved by the Complainant.

The Panel finds it unproved that Mr. Ricks’ use of a proxy registration service is an indication of bad faith. There can be many
legitimate reasons for using a proxy registration service, many of them consistent with good faith.

Although Mr. Ricks does not comment on the Playboy dispute or the two WIPO decisions where he was found to be in default, there is
insufficient evidence to infer a course of registrations of domain names in bad faith.



8. Decision

For all the foregoing reasons the Complaint is denied.




                                                           Sir Ian Barker QC
                                                           Presiding Panelist

                                  Kiyoshi I. Tsuru                                    David E. Sorkin
                                     Panelist                                            Panelist

                                                       Dated: November 1, 2006
